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UNITED STATES DISTRICT COURT SCAN INDEX SHEET

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BEL AIR PATROL
Case 3:96-cv-00721-JM-POR Document1 Filed 04/24/96 PagelD.2 Page 2 of 17

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1 DANIEL CALLAWAY

550 W. Vista Way #205
Vista, CA 92083
619-758-2410

3 #133237

    

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4 Attorney for Plaintiff

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G UNITED STATES DISTRICT COURT
? SOUTHERN DISTRICT OF CALIFQRNIA
t
9 ' :
Scott Grudek, ) Civil No. 96 “7 21 BIM POR
10 )
Plaintiff, ) COMPLAINT FOR DAMAGES
ii ) :
Vs. ) (Civil Rights, Conspiracy to
n ) Violate Civil Rights, Monell
Bel Air Patrol, City of Oceanside ) Liability, False Arrest, False
43 |(Police Department), Bruce Dunne ) Imprisonment, Intentional
(Chief of Oceanside Police ) Infliction of Emotional
Wi Pepartmen)t, James Campaign (Bel ) Distress, Malicious

Air Patrol), Eric Anderson, John ) Prosecution}
1% Gisbert, Tom Morgans and Does 1 )

 

through 20 inclusive, )
16
Defendants DEMAND FOR JURY TRIAL
0
18
19 JURISDICTION AND VENUE
20 1. The Court has jurisdiction over this action pursuant to

| 28 U.S.C. § 1331 (federal question) and 28 U.S.C. § 1343(3) (civil
rights). Venue lies in the Southern District of California, the

23 judicial district in which the claim arose, pursuant to 28 U.S.C.

24 | § 1391{b).

25 PARTIES
0 Za Plaintiff Scott Grudek is an American citizen who resides
? in the State of California, county of San Diego.

3. Plaintiff is informed and believes and based thereon

 

 
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1 alleges that defendant CITY OF OCEANSIDE is a municipal corporation
2 duly organized and existing under the laws of the State of
3 California. Plaintiff is informed and believes and based thereon
4 alleges that defendant CITY OF OCEANSIDE is liable under Cal. Gov't.
5 Code § 815.2(a) for any and all wrongful acts committed by its agents
& and employees within the scope of their agency and employment.

7 4. Plaintiff is informed and believes and based thereon
a alleges that at all times relevant hereto defendant Eric Anderson was
9 a duly appointed, qualified and acting police officer or investigator
10 employed as such by the Oceanside Police Department authorized to
i perform duties under the color of state law. Plaintiff alleges that
fm defendant Anderson was aware at all times that the prosecution of
13 plaintiff was false, malicious and illegal but, despite this
14 knowledge, defendant Anderson wilfully participated in the conspiracy
15 to violate plaintiff's right to equal protection and due process by,
16 inter alia, offering perjured testimony at trial and intentionally
7 preventing the jury from hearing the truth so that plaintiff would be
8 falsely convicted.

19 5. Plaintiff is informed and believes and based thereon
20 | alleges that at all times relevant hereto defendants John Gisbert
21 and Tom Morgans were duly appointed, qualified and acting police
22 officers or investigators employed as such by the Oceanside Police
23 Department authorized to perform duties under the color of state law.
2 Plaintiff alleges that defendants Gisbert and Morgans were aware at
235 all times that the prosecution of plaintiff was false, malicious and
26 illegal but, despite this knowledge, defendants Gisbert and Morgans
27 wilfully participated in the conspiracy to violate of plaintiff's

23 right to equal protection and due process by, inter alia, offering

 

 
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perjured testimony at trial and intentionally preventing the jury
from hearing the truth so that plaintiff would be falsely convicted.

6. Plaintiff is informed and believes and based thereon
alleges that Bel Air Patrol is a business entity, at all times
registered and licensed to conduct business, and conducting business,
in the state of California, city of Oceanside and vicariously liable
for the actions of their employees pursuant to the doctrine of
respondeat superior.

7. Plaintiff is informed and believes and based thereon
alleges that at all times relevant to this action defendant James
Campaign was the head employee for the Oceanside office of Bel Air
Patrol, acting in a supervisory capacity and whose actions taken with
full and binding legal authority upon Bel Air Patrol.

8. Plaintiff is informed and believes and based thereon
alleges that the defendants, including but limited to, Anderson,
Gisbert, Morgans and Campaign, together with other federal and state
officials conspired together in concert while acting under the color
of state law, in a plan to falsely arrest and imprison plaintiff,
wrongfully classify plaintiff as a criminal, wrongfully convict
plaintiff for crimes that he did not commit and intentionally and
recklessly cause plaintiff to suffer unreasonable mental duress all
in an attempt to cover up defendants' illegal arrest and beating of
plaintiff. All acts or omissions alleged to have been engaged in by
any defendant are alleged to have been engaged in with malice and
evil motive and in reckless and wanton disregard of plaintiff's
rights. Plaintiff is informed and believes and based thereon
alleges that all defendants were aware at all times that the state

criminal proceedings instituted against plaintiff were instituted

 
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against plaintiff because the defendants needed to justify their
illegal arrest and beating of plaintiff. All defendants were aware
at all times that a police officer who arrests and\or beats a
civilian must have legal justification to do so. All defendants were
aware at all times that the arrest, beating and prosecution of
plaintiff by the defendants was unprovoked, unjustified and outside
the scope of the defendants' legal authority. All defendants were
aware at all times that the state criminal proceedings instituted
against plaintiff were absolutely false and untrue and were
maliciously instituted by defendants because the defendants had to
manufacture justification for their illegal actions taken against
plaintiff.

9. Plaintiff is informed and believes and based thereon
alleges that at all times relevant hereto, defendants DOES 1-20 were
acting in their capacities as police officers, assisting the named
defendants in the below-described conspiracy and violation of
plaintiff's rights. Plaintiff is presently unaware of the true
identities of DOES 1-20 and hereby sues them as unknown defendants,
reserving the right to request leave of court to amend this complaint
and sue them under their true names and identities when such are
determined.

10. Plaintiff is informed and believes and based thereon
alleges that at all times relevant hereto all defendants were acting
in such capacity as the agents servants and employees of their
respective law enforcement agencies as described above, as well as in
their individual capacities. All defendants were aware at all times
of the illegal acts and omissions of the other defendants and were

capable of stopping, and under a duty to stop, the other defendants

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from violating the rights of plaintiff. Though aware of the illegal
acts and capable of stopping them, defendants participated in the
illegal and malicious prosecution in violation of plaintiff's rights.

11. Defendants CITY OF OCEANSIDE and Bruce Dunne are alleged to
have maintained or permitted an official policy or custom of
permitting the occurrence of the types of wrongs set forth
hereinbelow knowingly, with gross negligence, or with deliberate
indifference and, based on the principles set forth in Monell v. New
York City Department of Social Services, 436 U.S. 658 (1978), and
Heller v. Bushey, 759 F.2d 1371 (9th Cir. 1985), are liable for all
injuries sustained by plaintiff.

FACTS COMMON TO ALL CAUSES OF ACTION

12. The acts, omissions and events upon which this complaint is
based occurred between March 3, 1994, at approximately 2:30 a.m.,
when plaintiff was falsely arrested by Oceanside police officers
Morgans, Gisbert, and E. Anderson, despite the fact that plaintiff
had done absolutely nothing illegal and the police officers knew that
when they falsely arrested and beat plaintiff, and March 26, 1996,
when the criminal proceedings against plaintiff were dismissed.

13. On March 3, 1994 agents of the Bel Air Patrol in Oceanside
knowingly and wilfully provided false information to the Oceanside
Police Department that the car in which plaintiff was driving was
involved in a threat against a Bel Air Patrol security officer in the
parking lot of the La Hacienda Nightclub in Oceanside.

14. The agents of Bel Air Patrol were aware that the police
intended to stop the vehicle in which plaintiff rode while under the
mistaken belief that the occupants of the car had threatened the

lives of a Bel Air Security guard. The agents of Bel Air Patrol did

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prosecution perpetrated by defendants.

19. On February 16, 1996 the appellate department of the San
Diego Superior Court unanimously ruled that the arrest of Mr. Grudek
was illegal and without probable cause. On March 25, 1996 all
criminal charges against Mr. Grudek were dismissed. Defendants knew
that the false criminal proceedings instituted against plaintiff were
instituted as a result of defendants' desire to justify their illegal
arrest and beating plaintiff.

FIRST CAUSE OF ACTION FOR CONSPIRACY TO VIOLATE CIVIL RIGHTS
(42 U.S.C. §§ 1983, 1985 right to equal protection, due process,
false arrest, imprisonment, malicious prosecution against
all defendants)

20. Plaintiff herein restates and realleges as though fully set
forth herein paragraphs 1 through 19 above.

21. Defendants, and each of them, acted in concert to falsely
arrest, imprison and unjustly, maliciously and illegally prosecute
plaintiff of a crime, which at all times all defendants knew
plaintiff was absolutely factually innocent of.

22. Defendants, and each of them, acted in concert to falsely
arrest, imprison and unjustly prosecute plaintiff of a crime to cover
up the illegal arrest and beating of plaintiff by defendants.

23. The specific acts perpetrated by the defendants and known
by plaintiff at this time, prior to discovery taking place in this
action, include, but are not limited to:

(a) Arresting and beating plaintiff despite the fact that
they knew he had done nothing illegal and despite the fact
that the arresting officers knew that the arrest and

beating of plaintiff was illegal and not supported by

 
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cases, supra
. SECOND CAUSE OF ACTION - VIOLATION OF CIVIL RIGHTS
AGAINST ALL DEFENDANTS ACTING UNDER COLOR OF LAW

(42. U.S.C. §§ 1983 and 1985, violation right to equal protection,

forth herein paragraphs 1 through 26 above.

forth herein and are therefore liable on an individual basis.
THIRD CAUSE OF ACTION
1983 Monell Custom, policy or practice
(Defendants City of Oceanside)

29. Plaintiff hereby incorporates by reference paragraphs 1
through 28 as though fully set forth herein and alleges:

30. Plaintiff is informed and believes and thereupon alleges
that the City of Oceanside and Bruce Dunne maintain a custon,
policy or practice of lack of training and supervision, including

lack of disciplining for acts of wrongdoing, allowing Sheriffs'

 

OCEANSIDE any supervisorial individual defendant who had the power to
but who did not prevent the violations are liable to each plaintiff
pursuant to 42 U.S.C. § 1986. Defendant CITY OF OCEANSIDE and any
individual supervisorial defendant is liable to each plaintiff for

all wrongs alleged in this Complaint under the Monell and Heller

right to be free from unwarranted government intrusion, due process

27. Plaintiff herein restates and realleges as though fully set

28. Each of the individual defendants who acted under color of
state law, Anderson, Gisbert, individually deprived plaintiff of his
right to equal protection, the right to be free from unwarranted
government intrusion, the right due process and the right to a fair
trial under 42 U.S.C. §§ 1983 and 1985 based on the facts set forth

in paragraphs 1 through 27 and incorporated by reference and set

 
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1 deputies and police officers to inflict physical and other abuse on
2 | arrestees, including the denial of sleep, medication, and adequate
3 legal representation, as well as to file false police reports and

| provide false testimony, all without discipline and\or supervision.

5 31. Plaintiff is informed and believes that the city of
G Oceanside and its police department has consistently tolerated or
? encouraged brutality, illegal harassment filling of false police

t reports, false criminal charges and improper medical treatment to

9 inmates and arrestees, and that the City of Oceanside has done

to little or nothing to correct these abuses, in spite of the fact

it that the City and County have been given notice repeatedly by Grand
nr Juries, complaints, lawsuits, settlements, and other means. The

3 injuries complained of herein are the proximate result of said

“ custom, practice or policy.

G6 FOURTH CAUSE OF ACTION\STATE MALICIOUS PROSECUTION

16 (against defendants Bel Air Patrol and Lt. Campaign

0 and Does 1 through 20)

13 31. Plaintiff hereby incorporates by reference paragraphs 1

19 through 30 as though fully set forth herein and alleges:
20 32. At all times relevant hereto, defendants Bel Air Patrol

21 and James Campaign were aware of the factual innocence of plaintiff

8

to the criminal charges filed against him, were aware that

23 plaintiff was pursued as a suspect by Oceanside Police Department
24 only because the agents of Bel Air Patrol had illegally and

3 maliciously lied to the police and informed them that plaintiff was
26 involved in threats against a security officer when the agents of
27 Bel Air Patrol knew that plaintiff had not been involved in any

2 threats and were aware that they were under an obligation to obey

 

 
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valid court orders and not obstruct justice and\or otherwise
participate in the malicious prosecution of .plaintiff.

33. Despite the knowledge of defendants of the facts set
forth in paragraph 31 herein, and despite the ability of defendants
to tell the truth and to properly comply with valid court orders
and not hide and\or destroy exculpatory evidence, defendants
Campaign and Bel Air Patrol illegally and maliciously lied to the
police so that plaintiff would be stopped and subjected to
treatment as if he were a criminal, willfully, maliciously and
illegally hid material exculpatory evidence from plaintiff and
willfully and illegally assisted in the false and malicious
prosecution of plaintiff for a crime which at all times the
defendants were aware that plaintiff did not commit.

34. The actions taken by defendants were the legal and
proximate cause of the injuries to plaintiff as described below.

FIFTH CAUSE OF ACTION\STATE INTENTIONAL INFLICTION
OF EMOTIONAL DISTRESS
(against defendants Bel Air Patrol and Lt. Campaign)

35. Plaintiff hereby incorporates by reference paragraphs 1
through 34 as though fully set forth herein and alleges:

36. Defendants were at all times aware that the actions taken
by them would inflict severe emotional distress and mental anguish
upon plaintiff by forcing him to be subject to false arrest, false
imprisonment, an illegal beating, a false and malicious criminal
prosecution and an illegal, false, and unjustified criminal
conviction.

37. Despite the knowledge of defendants that their actions

would cause plaintiff severe emotional distress, defendants

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wilfully, maliciously and wantonly proceeded with the false,
illegal and malicious prosecution, conspired to obstruct justice
and hide exculpatory evidence, legally and proximately causing
plaintiff severe emotional distress.
DAMAGES
38. By reason of the aforedescribed acts and omissions of

defendants, and each of them, plaintiff suffered great physical
and mental pain and anguish, shock to his nervous system, torment,
anxiety, aggravation, humiliation, fear, degradation, and
intentional infliction of emotional distress, all of which has
resulted in some permanent disability and injury, all to his
damage in excess of $500,000.

39. Further, the unreasonable rejection of plaintiff's claim
filed under California Government Code 910 proximately caused
plaintiff to incur expenses and attorney's fees in order to
vindicate his rights, for which expenses and attorney's fees he is
entitled to reimbursement.

40. The aforesaid acts and omission of the defendants were
done by each said defendant knowingly, intentionally, maliciously
and recklessly, and for the purpose of vexing, harassing,
annoying and injuring plaintiff; to deprive him of rights
guaranteed to him by the United States and California Constitution
and laws, particularly 42 U.S.C. Sections 1983 and 1985, as above
alleged.

Defendants illegally and maliciously arrested and imprisoned
plaintiff. Defendants illegally and maliciously prosecuted
plaintiff for a crime which they were fully aware was not committed

by plaintiff. Defendants fabricated evidence to illegally convict

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Case 3:96-cv-00721-JM-POR Document1 Filed 04/24/96 PagelD.12 Page 12 of 17

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plaintiff. Defendants offered false and perjured testimony in
their attempt to falsely convict plaintiff. Defendants hid
evidence from plaintiff and tampered with\coerced witnesses in
their attempt to illegally convict plaintiff. Defendants
knowingly and maliciously made false statements about plaintiff to
cover-up their illegal arrest and beating and to avoid prosecution
for their illegal actions.

By reason of this, plaintiff claims exemplary and punitive
damages from each said defendant, in the amount of $500,000.00 and
claims reasonable attorney's fees in connection therewith.

WHEREFORE, PLAINTIFF PRAYS FOR JUDGMENT AS FOLLOWS:

l. General damages in excess of $500,000.00.

2. Medical and incidental expenses as proved.

3. Punitive and exemplary damages in the sum of

$1,000,000.00 against all defendants.

4. Costs of this litigation and attorneys fees under 42
U.S.C. Sections 1983 and 1988 and California Civil Code Sections
51.7. and 52; and

5. Such other and further relief as the Court may deem just

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DANIEL CALDAWAY
attorney for plaintiff

 
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sheet. [SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

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(EXCEPT IN U.S. PLAINTIFF CASES} (IN U.S. PLAINTIFF CASES ONLY)

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(c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER) ATTORNEYS (IF KNOWN)
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(For Diversity Cxses Oni) FOR PUUNTIFF AND ONE $Ox FOR DEFENDANT)
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- COMPLAINT: O UNDER FALC.P 23 JURY DEMAND: es ONO

 

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Vill. RELATED CASE(S) (see pa 7]
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DATE “SIGNATURE OF ATTORNEY OF RECORD
Case 3:96-cv-00721-JM-POR Document1 Filed 04/24/96 PagelD.14 Page 14 of 17

AO 440 {Rev 5/85) Summons {n a Civil Action

Writed States Histrict Court

SOUTHERN DISTRICT OF CALIFORNIA

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‘SUMMONS IN A CIVIL ACTION
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vs 4 DTM BAP
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Bes OunnG EE. Anognson,
TJ. 61:5G@ENT FT Monbans
f f
Bez ain PATROL, T. GAMPAIEN

 

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TO: (Name and Address of Defendant)

YOU ARE HEREBY SUMMONED and required to file with the Clerk of this Court and
serve upon PLAINTIFF'S ATTORNEY

An answer to the complaint which is herewith served upon you, within XO days after
service of this summons upon you, exclusive of the day of service. If you fail to do so,
judgment by default will be taken against you for the relief demanded in the complaint.

- Roberta Westdal
CLERK DATE

ft

 

BY DEPUEYCLERK

AO 440 (Rev $/85) Summons In a Civil Action
Case 3:96-cv-00721-JM-POR Document1 Filed 04/24/96 PagelD.15 Page 15 of 17

USDC SCAN INDEX SHEET

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ATTINGER

CRITTENDEN COMM INC
Case 3:96-cv-00721-JM-POR Document1 Filed 04/24/96 PagelD.16 Page 16 of 17

 

 

 

 

 

 

AO 85 (Rev. 10/93) Consent, to Exercise of Jurisdiction ]

UNITED STATES DISTRICT CC |

Ss. othe rr) District of Cai ADR) As |

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Plaintiff BYAU TER Ten . babreci ch Te db hace

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Case Number: ~ _
Defendant 96 625 uu S . Ge.

Decida wile Try PROCEEDINGS
CONSENT TO EXERCISE OF JURISDICTION’ BY A UNITED STATES MAGISTRATE JUDGE

In accordance with the provisions of 28 U.S.C. 636(c) and Fed.R.Civ.P. 73, the parties in this case hereby voluntarily
consent to have a United States magistrate judge conduct any and all further proceedings in the case, including the trial, and
order the entry of a final judgment.

Date
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ess otherwise in be below, any appeal shall be taken to the United States court of appeals for this
circuit, in accordance with 28 U.S.C. 636(c) and Fed.R.Civ.P. 73(c).

ELECTION OF APPEAL TO A UNITED STATES DISTRICT JUDGE

(DO NOT EXECUTE THIS PORTION OF THE FORM IF THE PARTIES DESIRE THAT THE APPEAL
LIE DIRECTLY TO THE COURT OF APPEALS.)

The parties in this case further consent, by signing below, to take any appeal to a United States district judge, in
accordance with 28 U.S.C. 636(c)(4) and Fed.R.Civ.P. 73(d).

 

 

 

 

ORDER OF REFERENCE

IT IS HEREBY ORDERED that this case be referred to the Honorable koe ER Curer is Mckee
United States Magistrate Judge, for all further proceedings and the entry of judgment in accordance with 28 U.S.C. 636(c),

Fed.R.Civ.P. 73 and the foregoing Ss
«24 19%, [
Date D United States mm udge

NOTE: RETURN THIS FORM TO THE CLERK OF THE COURT ee ALL PARTIES HAVE CONSENTED
if ' os pu AON THIS FORM TO THE EXERCISE OF JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE.

ws asia
Case 3:96-cv-00721-JM-POR Document1 Filed 04/24/96 PagelD.17 Page 17 of 17

United States District Court
Southern District Of California

Office Of The Clerk
880 Front Street
Room 4290
San Diego, California 92101-8900 Phone:
Roberta Westda] (619) 557-5600
Clerk Of The Court Fax: 557-6684

April 25, 1996

Stephen P. McDonald Jeffrey Barrett Landa
McDonald and Allen Law Offices of Jeffrey B. Landa
550 West C St., Ste 2050 429 S. Sierra Ave., Ste 134

San Diego, CA 92101 Solana Beach, CA 92075

RE: Attinger v. Crittenden / 96-252 S(CM)
You are hereby notified that on 4/25/96 the above case was:

X ‘Transferred from the calendar of United States District Judge Edward J. Schwartz
to the calendar of United States District Magistrate Judge Roger C. McKee

The case number will now contain the initial of the transferee Judge; on all future filings please
show the case number as 96-252 CM.

NOTE: _ If this case was transferred pursuant to the Low Number Rule, the related cases have
been assigned to the same Judge but they are NOT CONSOLIDATED at this point,
all pleadings must still be filed separately in each case.

ROBERTA WESTDAL, CLERK

By: i? Ltt fen

D. Barker, Deputy Clerk

cc: Clerk
Appropriate Courtroom Clerk
Index
